Case 2:17-cv-03402-DMG-KS Document 33 Filed 05/01/18 Page 1 of 2 Page ID #:164




   1 ALAN C. CHEN, (SBN 224420)
      acchen@zuberlaw.com
   2 ZACHARY S. DAVIDSON, (SBN 287041)
      zdavidson@zuberlaw.com
   3 ZUBER LAWLER & DEL DUCAndLLP
     350 South Grand Avenue, 32 Floor
   4 Los Angeles, CA 90071
     Telephone: (213) 596-5620
   5 Facsimile: (213) 596-5621
   6 Attorneys for Plaintiff,
     Chun-Fang (“Frank”) Chung
   7
   8                                         UNITED STATES DISTRICT COURT
   9                                        CENTRAL DISTRICT OF CALIFORNIA
  10 CHUN-FANG (“FRANK”) CHUNG                            Case No.: 2:17-cv-03402-DMG-KS
  11                           Plaintiff,                 NOTICE OF TENTATIVE
                                                          SETTLEMENT
  12               v.
                                                          Trial Date:   May 1, 2018, 8:30 a.m.
  13 VICKY CHUNG, et al.
  14                           Defendant(s).
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

       2190-1004 / 1168624.2
Case 2:17-cv-03402-DMG-KS Document 33 Filed 05/01/18 Page 2 of 2 Page ID #:165




   1              TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF
   2 RECORD: Pursuant to Federal Rule of Civil Procedure 23.1 and a notice from the
   3 Court dated, May 1, 2018, Plaintiff Chun-Fang (“Frank”) Chung respectfully submits
   4 this Notice of Tentative Settlement, as follows:
   5                    1. As set forth in the mediator’s report (ECF 32), the parties have reached a
   6 tentative settlement of this matter;
   7                    2. The parties’ tentative settlement, which is confidential, resolves not only
   8 the instant matter, but also a breach of contract action currently pending in the Los
   9 Angeles Superior Court, as well as litigation currently pending in Taiwan;
  10                    3. The parties’ tentative settlement is currently reflected on a term sheet,
  11 which shall be reduced to a final, long-form agreement within six weeks of the parties’
  12 April 26, 2018 mediation. That length of time is necessary due to the inherent
  13 complexities of a coordinated global settlement that requires input by the different
  14 parties and their respective counsel in different countries and under different laws;
  15                    4. Once the final, long-form agreement has been executed, the parties will
  16 submit the final, long-form agreement under seal to the Court for approval; and
  17                    5. Because the terms of the parties’ proposed settlement requires scheduled
  18 payments – including certain payments not due until six months after execution of the
  19 final, long-form agreement – Plaintiff expects the stipulated dismissal without
  20 prejudice contemplated by the parties’ proposed settlement will be filed no later than
  21 eight months from today’s date (i.e., by January 1, 2019).
  22
  23 Respectfully submitted.
  24 Dated: May 1, 2018                               By:       /s/ Alan C. Chen
                                                                Alan C. Chen
  25
                                                                Zachary S. Davidson
  26                                                            ZUBER LAWLER & DEL DUCA LLP
                                                                Attorneys for Plaintiff,
  27
                                                                Chun-Fang (“Frank”) Chung
  28


       2190-1004 / 1168624.2                                2
